                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )       Case No. 3:13-cr-153
v.                                                    )       Judge Aleta A. Trauger
                                                      )
DORIAN AYACHE and                                     )
THERESA C. VINCENT,                                   )
                                                      )
       Defendants,                                    )

                                  MEMORANDUM & ORDER

       Defendant Theresa Vincent has filed a Motion to Dismiss Count Four of the Indictment

(Docket No. 90), to which the government has filed a Response in opposition (Docket No. 91).

       Briefly, in the Superseding Indictment, the government charges Vincent with perjury

under 18 U.S.C. § 1623, stemming from (allegedly) false testimony that she gave during her May

22, 2013 appearance before the grand jury. At the time, the government was investigating

whether Dorian Ayache and others may have violated 49 U.S.C. § 521(b)(6)(A) or otherwise

conspired to violate Department of Transportation orders in violation of 18 U.S.C. § 371.

According to the Superseding Indictment, Vincent made “false material declarations” to the

grand jury regarding her communications with Dorian Ayache concerning those charges. It

alleges that the grand jury was, among other things, seeking “to identify the persons who had

committed, caused the commission of, and conspired to commit” violations of § 521(b)(6)(A)

and § 371, and that it was “material to the said investigation that the grand jury ascertain the

extent to which defendants Theresa C. Vincent and Dorian Ayache had communicated and the

content of such communications.” It alleges, with direct quotations from the grand jury

transcript, that Vincent testified that she had essentially no recent contact with Ayache of any

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substance, that she had not spoken with Ayache within the five months prior to her grand jury

testimony, and that she had not had any discussions with Ayache concerning the grand jury

investigation. The Superseding Indictment alleges that Vincent knowingly presented false

testimony concerning this “material” matter, because she had (and knew that she had)

communicated with Ayache numerous times in the months preceding her grand jury testimony,

including communications on March 13, 2013, March 18, 2013, March 21, 2013, April 9, 2013,

and April 15, 2013.

       Under Fed. R. Crim. P. 7(c), an indictment must contain a “plain, concise, and definite

written statement of the essential facts constituting the offense charged . . . .” Generally, “[a]n

indictment is sufficient if it, first, contains the elements of the offense charged and fairly informs

a defendant of the charge against which he must defend, and, second, enables him to plead an

acquittal or conviction in bar of future prosecutions for the same offense.” United States v.

Anderson, 605 F.3d 404, 411 (6th Cir. 2010) (quoting Hamling v. United States, 418 U.S. 87,

117 (1974)). “It is generally sufficient that an indictment set forth the offense in the words of

the statute itself, as long as those words of themselves fully, directly, and expressly, without any

uncertainty or ambiguity, set forth all the elements necessary to constitute the offence [sic]

intended to be punished.” United States v. Coss, 677 F.3d 278, 288 (6th Cir. 2012) (internal

quotation omitted). “However, it must be accompanied with such a statement of the facts and

circumstances as will inform the accused of the specific offense, coming under the general

description, with which he is charged.” Id. (internal quotation omitted); see also Anderson, 605

F.3d at 411; United States v. Collis, 128 F.3d 313, 317 (6th Cir. 1997).

       To prove a charge of perjury under 18 U.S.C. § 1623, the government must prove that the

defendant (1) knowingly made (2) a materially false declaration (3) under oath (4) in a

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proceeding before or ancillary to any court of the United States. United States v. Lee, 359 F.3d

412, 416 (6th Cir. 2004). In the words of the statute itself: “Whoever under oath . . . in any

proceeding before or ancillary to any court or grand jury of the United States knowingly makes

any false material declaration . . . , knowing the same to contain any false material declaration,

shall be fined under this title or imprisoned not more than five years, or both.” 18 U.S.C. §

1623(a).

       Here, the Superseding Indictment not only tracks the language of the statute and its

constituent elements, it also provides additional specific details regarding the alleged perjury and

its relationship to the investigation. It alleges that Vincent knowingly gave false testimony on

May 22, 2013 concerning her communications with Dorian Ayache, that she gave the false

testimony under oath, that she gave the false testimony during a grand jury proceeding, and that

the false statements concerning her communications with Dorian Ayache were material to the

grand jury’s investigation. By tracking the statutory language and the elements of a perjury

offense in clear and concise terms, Count Four is demonstrably sufficient on that basis alone.

       Vincent appears to challenge the Indictment on the grounds that, notwithstanding the

allegations of materiality in the Superseding Indictment, Vincent’s allegedly false grand jury

testimony was in fact not “material” to the grand jury’s investigation. Vincent’s brief does not

mention, let alone address, the relevant standard for the sufficiency of an indictment. Indeed,

whether the testimony at issue in fact was material is a separate question that is not proper for the

court to address in a motion to dismiss the indictment. The court’s role is limited to testing the

sufficiency of the Superseding Indictment’s allegations, a standard that is easily met here.

       At any rate, the government makes a plausible argument that the allegedly false

testimony was material. A statement is material if it “has the natural tendency to influence, or

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was capable of influencing, the decision of the decision-making body to which it was addressed.”

Lee, 359 F.3d at 416 (internal citations omitted). The government is not required to show that

perjured testimony actually influenced the relevant decision-making body. Id. Here, the timing

and content of communications between potential conspirators (Ayache and Vincent) may have

been relevant circumstantial evidence in determining whether they in fact agreed to defraud the

United States or to impair its lawful functions in violation of 18 U.S.C. § 371. At any rate, it will

be for a jury to decide whether Vincent’s allegedly false testimony was “material” to the grand

jury investigation, among the other required elements for a perjury conviction.

       For the reasons stated herein, Vincent’s Motion to Dismiss Count Four is hereby

DENIED.

       It is so ORDERED.

       Enter this 25th day of June 2014.

                                                      _____________________________
                                                      ALETA A. TRAUGER
                                                      United States District Judge




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